Case: 1:17-Cv-08905 Document #: 1-1 Filed: 12/12/17 Page 1 of 8 Page|D #:5

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F’|aintiH. 1 ? L 3 f d
V. NO.

PEARSON TRUCKING. lNC.. a Mlnnesota'
corporation. and ROBERT FENSKE.

‘\--»v\_.¢-\.._¢-.._'~...¢-\...¢\..¢-...¢~...¢

Defendants.

CON|PLA|NT

NOW COMES the li`>iaintii‘fv Nico|e l`-lowlett, by her attorneys. RAY & GL|CK LLC, and
complaining of the Defendants',_ Pearson Trucking, lnc~. and: Robert Fenske, states as follows:

COUNT l
(Negligence)

1. That on or about December 14, 2015, Plaintiff, Nico|e Howle`tt, was operating `a
certain automobile to wit: 2011 Chrysler Sedan in ain le'a\rs'c'e"rly' direction on |||i`no|s Ro_ute 120
(Be|videre Road) at or near the intersection of illinois Route 120 (Belvidere Road) and Knight

Avenue, in the City of Park City, County of Lell<e1 and Sta_te of ||llnois.

Haw|elt vs. Pearson Trucking. lno, et al.
Case Numbe.':

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EXH|B|T

Case: 1:17-Cv-08905 Document #: 1-1 Filed: 12/12/17 Page 2 of 8 PageiD #:6

2. That at the time and place aforesaid, Defendaht, Robert Fenske, was the owner
and/or operator of a certain automobile to wit: 2006 Voivo Cab which he was then and there
operating in an easterly direction immediately to the rear of the vehicle operated by P|aintiff.

3. That it was the duty of the Defendant to exercise ordinary care for the safety of the
Piaintiff, Nico|e Howiett; that duty notwithstanding Defendant. Robert Fenske. committed one
or more of the following negligent, careless and improper acts or omissions:

a. Did operate his motor vehicle at a high and dangerous rate of speed incommen-
surate with the conditions then existing in violation of 625 lLCS 5/11-601;

b. Failed to maintain a lookout for other vehicles operating on the roadway;

c. Fai|ed to maintain a safe, suitable and proper interval between his motor vehicle
and the motor vehicle being operated by the Piaintiff;

d. Faiied to maintain his motor vehicle under safe. suitable and proper control;

e. Faiied to observe the motor vehicle which Piaintiff was operating and avoid
coming into contact with the rear portion of the vehicle operated by Piaintiff;

f. Did fail to stop at an intersection designated by a stop sign, in violation of 625
lLCS 5/11-904(b);

g. Faiied to reduce his speed when approaching crest of hi||, in violation of 625
lLCS 5/11-601;

h. Fai|ed to bring his motor vehicle to a stop to avoid a collision with the vehicle

operated by Piaintiff;

Fai led to give warning by sounding his horn when he knew or should have known
of Piaintist peril in the roadway. in violation of 625 lLCS 5/11-1003.1 and 5/12-
601:

4. That as a proximate result of one or more of the aforesaid careless, improper and

How|ett vs. Psarson Truck|ng. lnc., el ai.
Caee Number:
Comp|aint

Page 2 of 5

Case: 1:17-Cv-O8905 Document #: 1-1 Filed: 12/12/17 Page 3 of 8 PagelD #:7

negligent acts on the part of the Defendant, Robert Fenske. the vehicle being operated by the
Defendant did run into and strike the rear portion of the vehicle being operated by Piaintiff.

5. That as a direct and proximate result thereof, Piaintiff sustained serious and
permanent injuries', that P|aintiff has incurred medical expenses and will incur medical
expenses in the future; that Piaintiff sustained losses of income and will sustain losses of
income in the future; that Plaintiff has experienced great pain and suffering and will in the
future experience great pain and suffering; to the damage of the Piaintiff, Ni_cole Howlett, in a
sum in excess of Fifty Thousand and 00/100 ($50,000.00) Dollars.

WHEREFORE, Piaintiff, Nicoie Howlett, dema ndsiudgmentagainstthe Defendant, Robert
Fenske, in a dollar amount sufficient to satisfy the]urisdictio`na| limits of the law division of this
courtand such additional amounts as tho]ury and the court shall deem proper and additionally

costs of same.

COUNT ll
(Ne'gligence)

6-10. Piaintiff, Nicoie Howlett, realieges paragraphs 1 through 5 of Count l of Plaintlff's
Comp|aint as paragraphs 6 through 10 of Count ii of Piaintist Compiaint.

11. The ata|ltimes material hereto Defenda nt, Pearson Trucking, lnc., wasa Nlinnesota
Corporation engaged in the trucking business in among other places the Cou nty of Lake in the
State of lllinois.

12. That all times material hereto Defendant Robert Fenske, was an agent of Pearson

Trucking, lnc.

Howlett vs. Pearson Trucking. lnc., et al.

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Cornplaint Pag€ 3 Of 5

Case: 1:17-Cv-O8905 Document #: 1-1 Filed: 12/12/17 Page 4 of 8 PagelD #:8

13. That it was the duty of the Defendant, Pearson Trucking, lnc., through its agent
Robert Fenske, to exercise ordinary care for the safety of the Piaintiff, Nicoie Howlett; that duty
notwithstanding Defendant, Pearson Trucking, lnc., through its agent Robert Fenske,
committed one or more of the following negligent, careless and improper acts or omissions:

a. Did operate his motor vehicle at a high and dangerous rate of speed incommen-
surate with the conditions then existing in violation of 625 lLCS 5/11-601;

b. Failed to maintain a lookout for other vehicles operating on the roadway;

c. Failed to maintain a safe, suitable and proper interval between his motor vehicle
and the motor vehicle being operated by the P|aintiff;

d. Failed to maintain his motor vehicle under safe, suitable and proper control;

e. Failed to observe the motor vehicle which Plaintlff was operating and avoid
coming into contact with the rear portion of the vehicle operated by Piaintiff;

f. Did fail to stop at an intersection designated by a stop sign, in violation of 625
lLCS 5/11-904(b);

g. Failed to reduce his speed when approaching crest of hiil, in violation of 625
lLCS 5/11-601;

h. Failed to bring his motor vehicle to a stop to avoid a collision with the vehicle

operated by Piaintiff;

i. Failed to give warning by sounding his horn when he knew or should have known
of Piaintist peril in the roadway, in violation of 625 lLCS 5/11-1003.1 and 5/12-

601:
14. That as a proximate result of one or more of the aforesaid careless, improper and
negligent acts on the part of the Defendant, Pearson Trucking, lnc., through its agent, Robert

Fenske, the vehicle being operated bythe Defendant did run into and strike the rear portion of

Howlett vs. Pearson Trucking. lnc., et a|.
Case Number;
Complaint

Page 4 of 5

Case: 1:17-Cv-O8905 Document #: 1-1 Filed: 12/12/17 Page 5 of 8 PagelD #:9

the vehicle being operated by Piaintiff.

15. That as a direct and proximate result thereof, Plaintiff sustained serious and
permanent injuries; that Piaintiff has incurred medical expenses and will incur medical
expenses in the future; that Piaintiff sustained losses of income and will sustain losses of
income in the future; that Piaintiff has experienced great pain and suffering and will in the
future experience great pain and suffering; to the damage of the Piaintiff, Nicoie Howlett, in a
sum in excess of Fifty Thousand and 00/100 ($50,000.00) Dollars.

WHEREFORE, Piaintiff, Nicoie Howlett, demandsjudgment against the Defendant, Pearson
Trucking, lnc., in a dollar amount sufficient to satisfy thejurisdictiona| limits of the law division
of this court and such additional amounts as the jury and the court shall deem proper and

additionally costs of same.

Respectfuily Submitted,

RAY & GLlCK
/

 
 

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Bogdan i\/iartinovich

RAY & GL|CK LLC

P.O. Box 400

Libertyvil|e, illinois 60048-0400

(847) 996-1350

E-i\/iaii Address: Bogie@ivlartinovichLaw.Com
Attorney Registration Number: 01783998

Howlert vs. Pearson Trucking, lnc., et al.
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Page 5 Of 5

Case: 1:17-Cv-08905 Document #: 1-1 Filed: 12/12/17 Page 6 of 8 PagelD #:10

|N THE ClRCUiT COURT OF THE NlNETEENTH JUDIC|AL CIRCU|T
LAKE COUNTY, |LLlNOlS

 

 

 

 

 

 

 

 

 

 

 

 

 

NicoLE HOWLETT, }
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vs. ) Gen No
PEARSON TRUCK|NGl lNC. a Mlnnesola )
corporation and RUBERI FENSKE j \'. b
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Deiendant(s) )
SUMMONS

To each defendant

‘i'ou oro summoned and required to file an amwer to the complaint in this case. a copy of which is hereto
aitached, or otherwise file your appearanco. in the office of the Clerk of this Court, within 30 days after service of this
summonn. not painting the day or semco. if you fail to do :rr:.l a ludgment by default may be entered against you for the
relief asked in ihe complaint

To the officen

This summons must be returned by tha officer or other person to whom it was given for service. with indorsement
oi service and fees, if any, immediately after service i|' service cannot be made_ this summons shall be returned so

indorsed.

 

 

 

 

 

 

 
 

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(lf service by facsimile transmission will be accepted, the telephone number of thr§`§l§iiiRWF D=FJ`\ULT titles 't»‘.\' ;‘;r;gr],
plaintiffs attomey‘s facsimile machine is additionally required.)

Date of Service , 20 (to be inserted by officer on copy left with defendant or other person).
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Case: 1:17-Cv-08905 Document #: 1-1 Filed: 12/12/17 Page 7 of 8 PagelD #:11

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Nicoie Howlett

 

 

 

Peareon Trucking, lnc. and Robert Fenske ) h l`¢"";;\..i*€‘
CERTlFlCATE OF AUORNE¥ ,-‘,lClV|L DlVlSiON
1) Pursuant to Local Rule 3.01(¢:), l hereby certify that
iii There has been no previous \!oiuritary or involuntary Kl There ls no other litigation resently pending in the
Dismissal of the subject matter of this litigationl county involving these part es.
i:i There has been a previous Voluntary or involuntary El There is other litigation presently pending in the
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2) Are you seeking any injunctive relief?

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lX_I No- Select the appropriate non- Chancery case eubtype beiow.

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[X] Attorney [:] Self-Represented Litigant
171-355 {Rev 8/17)

Case: 1:17-Cv-O8905 Document #: 1-1 Filed: 12/12/17 Page 8 of 8 PagelD #:12

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PEARSON TRUCKiNG, lNC. a Minnesota
corporation and ROBERT FENSKE,

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Defendants.
AFFTDAVIT HJRSUANF TO SUPREME COURT RULE 222 (B)

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Attomeye for P|aintif!'
Bogdan Martirtovioh

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RAY& GLiCl< LLC

P.O. Box 400

Libertyvil|e, |L 60048

{847}996-1350

E-Mail Addreiss: Bog|e@MartinovichLaw.Com
Attorney Registration Numben 01783998

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